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Attorneys for Defendants The Trustees of Princeton University, a not-for-profit educational corp.
of the State of New Jersey (incorrectly referenced in the Complaint as “Princeton University”),
Michele Minter, Regan Hunt Crotty, Joyce Chen Shueh, Walter Wright, Cole Crittenden,
Kathleen Diegnan, W. Rochelle Calhoun, Jill S. Dolan, and Sarah-Jane Leslie


                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



  JOHN DOE,                                   Civil Action No. 3:19-cv-07853-ZNQ-TJB

                       Plaintiff,
                                              CONSENT ORDER FOR
                  v.                          PRO HAC VICE ADMISSION OF
                                              ELI BERNS-ZIEVE
  PRINCETON UNIVERSITY, ET AL.,

                       Defendants.



       This matter having come before the Court on the application for Consent Order for

Admission Pro Hac Vice of Eli Berns-Zieve, and the Court having reviewed the moving papers

and being otherwise sufficiently advised, for good cause shown, it is:
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        ORDERED that Eli Berns-Zieve be permitted to appear pro hac vice; provided that

pursuant to D.N.J.L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed promptly

by a member of the bar of this Court upon whom all notices, orders and pleadings may be served,

and who shall promptly notify Eli Berns-Zieve of its receipt. Only an attorney at law of this Court

may file papers, enter appearances for parties, sign stipulations, or sign and receive payments on

judgments, decrees or orders; and it is further

        ORDERED that Eli Berns-Zieve shall arrange with the New Jersey Lawyers’ Fund for

Client Protection for payment of the annual fee, for this year and for any year in which the out-of-

state attorney continues to represent a client in a matter pending in this Court in accordance with

New Jersey Court Rule 1:28-2 and D.N.J.L. Civ. R. 101.1, said fee to be deposited within twenty

(20) days of the date of the entry of this Order; and it is further

        ORDERED that Eli Berns-Zieve shall pay the $150.00 fee required by D.N.J.L. Civ. R.

101.1(c)(3) for pro hac vice admission to the District Court for the District of New Jersey within

twenty (20) days of entry of this Order. Payment in the form of a check must be payable to “Clerk,

USDC” and forwarded to the Clerk of the United States District Court for the District of New

Jersey, at the following address:

                                United States District Court
                                District of New Jersey
                                Clarkson S. Fisher Building &
                                U.S. Courthouse
                                402 East State Street
                                Trenton, NJ 08608
                                Attention: Pro Hac Vice Admissions

and it is further

        ORDERED that Applicant shall be bound by the Local Rules of the United States District

Court for the District of New Jersey; and it is further
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       ORDERED that the Clerk shall forward a copy of the Order to the Treasurer of New Jersey

Lawyer’s Fund for Client Protection within five (5) days of its date of entry.



                                                             s/ Tonianne J. Bongiovanni
                                                             Tonianne J. Bongiovanni
                                                             United States Magistrate Judge
                                                             Dated: February 15, 2023
